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                                 UNITED STATES DISTRICT COURT
                                    DISTRICT OF DELAWARE

--------------------------------------------------------
SHIVA STEIN,                                               :
                                                           :
                  Plaintiff,                               :   Case No. ______________
                                                           :
v.                                                         :
                                                           :   COMPLAINT FOR VIOLATIONS OF
TABLEAU SOFTWARE, INC., ADAM                               :   SECTIONS 14(e), 14(d) AND 20(a) OF
SELIPSKY, BILLY BOSWORTH, BROOKE                           :   THE SECURITIES EXCHANGE ACT
SEAWELL, CHRISTIAN CHABOT,                                 :   OF 1934
CHRISTOPHER STOLTE, ELLIOTT                                :
JURGENSEN, JR., GERRI MARTIN-                              :   JURY TRIAL DEMANDED
FLICKINGER, HILARIE KOPLOW-                                :
MCADAMS, JOHN MCADAM, and                                  :
PATRICK HANRAHAN,                                          :
                                                           :
                  Defendants.                              :
--------------------------------------------------------

         Shiva Stein (“Plaintiff”), by and through her attorneys, alleges the following upon

information and belief, including investigation of counsel and review of publicly-available

information, except as to those allegations pertaining to Plaintiff, which are alleged upon

personal knowledge:

         1.       This is an action brought by Plaintiff against Tableau Software, Inc. (“Tableau or

the “Company”) and the members Tableau board of directors (the “Board” or the “Individual

Defendants” and collectively with the Company, the “Defendants”) for their violations of

Sections 14(e), 14(d), and 20(a) of the Securities Exchange Act of 1934 (the “Exchange Act”), in

connection with the proposed acquisition of Tableau by salesforce.com, inc. and its affiliate

(“Salesforce”).

         2.       Defendants have violated the above-referenced Sections of the Exchange Act by

causing a materially incomplete and misleading Solicitation Statement on Schedule 14D-9 (the
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“Solicitation Statement”) to be filed on July 3, 2019 with the United States Securities and

Exchange Commission (“SEC”) and disseminated to Company stockholders. The Solicitation

Statement recommends that Company stockholders tender their shares in support of a proposed

transaction whereby Sausalito Acquisition Corp., a wholly-owned subsidiary of salesforce.com,

inc., will merge with and into Tableau (the “Proposed Transaction”). Pursuant to the terms of

the definitive agreement and plan of merger the companies entered into (the “Merger

Agreement”), each Tableau common share issued and outstanding will be converted into the

right to receive 1.103 shares of Salesforce common stock (the “Merger Consideration”).

       3.       Defendants have now asked Tableau’s stockholders to support the Proposed

Transaction based upon the materially incomplete and misleading representations and

information contained in the Solicitation Statement, in violation of Sections 14(e), 14(d), and

20(a) of the Exchange Act.        Specifically, the Solicitation Statement contains materially

incomplete and misleading information concerning, among other things, (i) Tableau’s financial

projections relied upon by the Company’s financial advisor, Goldman Sachs & Co, LLC

(“Goldman Sachs”), in its financial analyses; (ii) the data and inputs underlying the financial

valuation analyses that support the fairness opinion provided by Goldman Sachs; and (iii) the

sales process. The failure to adequately disclose such material information constitutes a violation

of Sections 14(e), 14(d), and 20(a) of the Exchange Act as Tableau stockholders need such

information in order to tender their shares in support of the Proposed Transaction.

       4.       It is imperative that the material information that has been omitted from the

Solicitation Statement is disclosed to the Company’s stockholders prior to the expiration of the

tender offer.




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       5.      For these reasons and as set forth in detail herein, Plaintiff seeks to enjoin

Defendants from taking any steps to consummate the Proposed Transaction unless and until the

material information discussed below is disclosed to Tableau’s stockholders or, in the event the

Proposed Transaction is consummated, to recover damages resulting from the Defendants’

violations of the Exchange Act.

                                  JURISDICTION AND VENUE

       6.      This Court has subject matter jurisdiction pursuant to Section 27 of the Exchange

Act (15 U.S.C. § 78aa) and 28 U.S.C. § 1331 (federal question jurisdiction) as Plaintiff alleges

violations of Sections 14(e), 14(d), and 20(a) of the Exchange Act and SEC Rule 14a-9.

       7.      Personal jurisdiction exists over each Defendant either because the Defendant is

incorporated in the State of Delaware and therefore in this District, or is an individual who is

either present in this District for jurisdictional purposes or has sufficient minimum contacts with

this District as to render the exercise of jurisdiction over defendant by this Court permissible

under traditional notions of fair play and substantial justice.

       8.      Venue is proper in this District under Section 27 of the Exchange Act, 15 U.S.C.

§ 78aa, as well as under 28 U.S.C. § 1391, because Tableau is incorporated in this District.

                                             PARTIES

       9.      Plaintiff is, and has been at all relevant times, the owner of Tableau common

stock and has held such stock since prior to the wrongs complained of herein.

       10.     Individual Defendant Adam Selipsky (“Selipsky”) is the Company’s President,

and Chief Executive Officer (“CEO”). Selipsky has been a member of the Board since

September 2016.

       11.     Individual Defendant Billy Bosworth has served as a member of the Board since

May 2015.


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       12.    Individual Defendant Brooke Seawell has served as a member of the Board since

November 2011.

       13.    Individual Defendant Christian Chabot is one of the Company’s co-founders and

has served as Chairman of the Board since the Company’s inception in 2003, and was the

Company’s President and CEO from 2003 until September 2016.

       14.    Individual Defendant Christopher Stolte is one of the Company’s co-founders and

has served as a member of the Board since the Company’s inception in 2003.

       15.    Individual Defendant Elliott Jurgensen, Jr. has served as a member of the Board

since September 2012.

       16.    Individual Defendant Gerri Martin-Flickinger has served as a member of the

Board since January 2018.

       17.    Individual Defendant Hilarie Koplow-McAdams has served as a member of the

Board since December 2016.

       18.     Individual Defendant John McAdam has served as a member of the Board since

December 2012.

       19.    Individual Defendant Patrick Hanrahan is one of the Company’s co-founders and

has served as a member of the Board since the Company’s inception in 2003.

       20.    Defendant Tableau is incorporated in Delaware and maintains its principal offices

at 1621 North 34th Street, Seattle, Washington 98103. The Company’s common stock trades on

the New York Stock Exchange under the symbol “DATA.”

       21.    The defendants identified in paragraphs 10-19 are collectively referred to as the

“Individual Defendants” or the “Board.”




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        22.     The defendants identified in paragraphs 10-20 are collectively referred to as the

“Defendants.”

                               SUBSTANTIVE ALLEGATIONS

A.      The Proposed Transaction Undervalues Tableau

        23.     Tableau offers software products. The Company’s products are used by people of

skill levels across all kinds of organizations. Its technologies include visual query language

(VizQL), which translates drag-and-drop actions into data queries and then expresses that

information visually, and Hybrid Data Architecture, which combines the power of Live Query

and In-Memory Data Engines. VizQL unifies the formerly disparate tasks of query and

visualization and allows users to transform questions into pictures without the need for software

scripts, chart wizards or dialogue boxes. Live Query Engine allows users to connect to volumes

of data in its existing format and location. In-Memory Data Engine enables users to import

amounts of data into its own in-memory database.

        24.     On June 10, 2019, the Company and Salesforce jointly announced the Proposed

Transaction:

                SAN FRANCISCO and SEATTLE, June 10, 2019 /PRNewswire/ -
                - Salesforce (NYSE:CRM), the global leader in CRM, and Tableau
                Software (NYSE: DATA), the leading analytics platform, have
                entered into a definitive agreement under which Salesforce will
                acquire Tableau in an all-stock transaction, pursuant to which each
                share of Tableau Class A and Class B common stock will be
                exchanged for 1.103 shares of Salesforce common stock,
                representing an enterprise value of $15.7 billion (net of cash),
                based on the trailing 3-day volume weighted average price of
                Salesforce's shares as of June 7, 2019.

                                               ***

                Details Regarding the Proposed Tableau Acquisition

                Salesforce and Tableau have entered into a definitive agreement
                under which Salesforce will acquire Tableau in an all-stock


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         transaction, pursuant to which each share of Tableau Class A and
         Class B common stock will be exchanged for 1.103 shares of
         Salesforce common stock, representing an enterprise value of
         $15.7 billion (net of cash), based on the trailing 3-day volume
         weighted average price of Salesforce's shares as of June 7, 2019.
         The transaction is intended to be tax free for Tableau stockholders
         (except with respect to cash for fractional shares).

         The transaction has been approved by the boards of directors of
         both companies.

         Under the terms of the transaction, Salesforce will commence an
         exchange offer to acquire all of the outstanding shares of Tableau.
         The acquisition of Tableau is expected to be completed during
         Salesforce's fiscal third quarter ending October 31, 2019, subject to
         customary closing conditions, including the tender by Tableau
         stockholders of shares representing a majority of the Tableau
         common stock voting power, assuming all shares tendered or
         converted will be counted on a one-vote-per-share basis, and the
         receipt of regulatory approvals. Christian Chabot, Patrick
         Hanrahan and Christopher Stolte, the founders of Tableau, have all
         entered into an agreement with Salesforce in connection with the
         transaction, and have indicated that they intend to tender all of
         their shares in the exchange offer.

         Financial Impact to Salesforce of the Proposed Tableau
         Acquisition

         FY20 Revenue: The transaction is expected to increase
         Salesforce's FY20 total revenue by approximately $350 million to
         $400 million. This estimate reflects a fair value adjustment to
         reduce unearned revenue and unbilled unearned revenue by
         approximately 30%, adjustments related to the combined customer
         base, and inter-company revenue elimination, as required by U.S.
         GAAP. FY20 Revenue is now expected to be $16.45 billion to
         $16.65 billion, an increase of 24% to 25% year-over-year.

         FY20 non-GAAP operating margin: The transaction is expected to
         decrease Salesforce's FY20 non-GAAP operating margin by
         approximately (75) basis points year-over-year.

         FY20 non-GAAP EPS: As discussed further below, guidance
         updates for GAAP EPS for all periods discussed are not currently
         available and Salesforce expects to provide the applicable updates
         when the transaction has closed and the purchase accounting has
         been completed. The acquisition is expected to decrease FY20



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         non-GAAP diluted EPS by approximately ($0.37) to ($0.39). FY20
         Non-GAAP EPS is now expected to be $2.51 to $2.53. This
         estimate assumes fully diluted share count of approximately 900
         million, and a non-GAAP tax rate of 22.5%.

         FY20 Operating Cash Flow: Operating Cash Flow is now expected
         to be in the range of 21% to 22% year-over-year.

         These estimates assume a close date on or about October 1, 2019,
         and certain assumptions related to non-GAAP tax rates. Actual
         results could differ materially based on the actual transaction close
         date. Salesforce is not currently able to prepare an accurate
         forecast for the full year impact of the acquisition on GAAP EPS
         and will not be able to do so until the purchase accounting is
         concluded after the transaction closes. The impact on GAAP EPS
         is expected to be more significant than for non-GAAP EPS due to
         the additional stock-based compensation charges and the impact of
         other various non-cash items, including amortization of
         acquisition-related intangibles and income tax adjustments.

         Non-GAAP Financial Measures: This press release includes
         information about non-GAAP operating margin, non-GAAP EPS
         and non-GAAP tax rates (collectively the "non-GAAP financial
         measures"). The primary purpose of using non-GAAP financial
         measures is to provide supplemental information that may prove
         useful to investors who wish to consider the impact of certain non-
         cash or non-recurring items on the company's operating
         performance and to enable investors to evaluate the company's
         results in the same way management does. Non-GAAP operating
         margin and non-GAAP EPS estimates exclude the impact of the
         following non-cash items: stock-based compensation, amortization
         of acquisition-related intangibles, as well as income tax
         adjustments. The non-GAAP tax rate estimate excludes the tax
         adjustments and tax consequences associated with the above
         excluded non-cash expense items. The method used to produce
         non-GAAP financial measures is not computed according to U.S.
         generally accepted accounting principles and may differ from the
         methods used by other companies. Non-GAAP financial measures
         are not meant to be considered in isolation or as a substitute for
         comparable GAAP measures and should be read only in
         conjunction with the company's consolidated financial statements
         prepared in accordance with GAAP.




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                  Advisors

                  Bank of America Merrill Lynch is serving as exclusive financial
                  advisor to Salesforce and Wachtell, Lipton, Rosen & Katz and
                  Morrison & Foerster LLP are serving as legal counsel. Goldman
                  Sachs & Co. LLC is serving as exclusive financial advisor to
                  Tableau and Cooley LLP is serving as legal counsel.

        25.       The Merger Consideration undervalues the Company’s shares in light of its recent

financial performance and prospects for future growth. More specifically, on May 2, 2019,

Tableau announced stellar first quarter 2019 financial results:

              •   Total revenue was $282.5 million, up 15% year over year.
              •   Total annual recurring revenue was $902.0 million as of March 31,
                  2019, up 41% year over year.
              •   Subscription annual recurring revenue was $510.1 million as of
                  March 31, 2019, up 115% year over year.

        26.       Accordingly, the Company is well-positioned for financial growth and the Merger

Consideration fails to adequately compensate Company stockholders by cutting off their ability

to benefit from the Company’s continued growth.

        27.       It is therefore imperative that Tableau’s stockholders are provided with the

material information that has been omitted from the Solicitation Statement, so that they can

meaningfully assess whether or not the Proposed Transaction is in their best interests.

B.      The Materially Incomplete and Misleading Solicitation Statement

        28.       On July 3, 2019, Tableau and Salesforce jointly filed the Solicitation Statement

with the SEC in connection with the Proposed Transaction. The Solicitation Statement was

furnished to the Company’s stockholders and solicits the stockholders to tender their shares in

support of the Proposed Transaction. The Individual Defendants were obligated to carefully

review the Solicitation Statement before it was filed with the SEC and disseminated to the

Company’s stockholders to ensure that it did not contain any material misrepresentations or




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omissions. However, the Solicitation Statement misrepresents and/or omits material information

that is necessary for the Company’s stockholders to make an informed decision concerning

whether to tender their shares, in violation of Sections 14(e), 14(d), and 20(a) of the Exchange

Act.

       29.     The Solicitation Statement omits material information regarding the Company’s

financial projections and the valuation analyses performed by Goldman Sachs, the disclosure of

which is material because it provides stockholders with a basis to project the future financial

performance of the target company, and allows stockholders to better understand the analyses

performed by the financial advisor in support of its fairness opinion of the transaction.

       30.     For the Initial Five-Year Plan and Related Extrapolations and the Updated Five-

Year plan and Related Extrapolations (the “Projections”) prepared by Company management for

Tableau, the Solicitation Statement provides values for non-GAAP (Generally Accepted

Accounting Principles) financial metrics such as (1) non-GAAP Gross Profit, (2) EBIT, and (3)

Unlevered Free Cash Flow, but fails to disclose: (i) the line items used to calculate the non-

GAAP measures, or (ii) a reconciliation of these non-GAAP metrics to their most comparable

GAAP measures, in direct violation of Regulation G. Solicitation Statement 32-33.

       31.     With respect to Goldman Sachs’s Illustrative Discounted Cash Flow Analysis, the

Solicitation Statement fails to disclose: (i) the projected terminal values for the companies; (ii)

the companies’ unlevered free cash flows, including the line items used to calculate them; and

(iii) the number of fully diluted outstanding shares of the Company as of June 7, 2019.

Solicitation Statement at 37.

       32.     With respect to the Public Comparable Analysis, the Solicitation Statement omits

the financial metrics for each of the selected companies, or even summary statistics as to those




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same financial metrics. Instead, the Solicitation Statement discloses only the reference range

selected by Goldman Sachs. Solicitation Statement at 40.

       33.     With respect to the Present Value of Future Share Price Analysis, the Solicitation

Statement fails to disclose: (i) Goldman Sachs’ basis for applying a range of enterprise value to

forward revenue multiples of 7.5x to 8.5x to revenue estimates of the Company for the calendar

years 2019 through 2021; (ii) the individual inputs and assumptions underlying the discount rate

of 8.5%; and (iii) the fully diluted outstanding shares of the Company. Solicitation Statement at

41.

       34.     The Solicitation Statement also fails to disclose any financial projections of

Salesforce. This information is necessary because Tableau shareholders will become Salesforce

shareholders following the close of the Proposed Transaction by virtue of them receiving

Salesforce stock.

       35.     In regards to the Background of the Offer and the Merger, the Solicitation

Statement also omits material information regarding the background of the Proposed

Transaction.   For example, although the Solicitation Statement indicates that Individual

Defendants Selipsky, non-parties Damon Fletcher, Keenan Conder, Dan Miller, and Mark

Nelson have entered into new lucrative employment agreements with Salesforce in connection

with the Proposed Transaction, the Solicitation Statement fails to disclose any information

regarding the timing and nature of communications regarding future employment of the

Company’s officers and directors, including who participated in such communications.

Communications regarding post-merger employment during the negotiation of the underlying

transaction must be disclosed to stockholders. This information is necessary for stockholders to

understand potential conflicts of interest of management and the Board, as that information




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provides illumination concerning motivations that would prevent fiduciaries from acting solely

in the best interests of the Company’s stockholders.

          36.   In sum, the omission of the above-referenced information renders statements in

the Solicitation Statement materially incomplete and misleading in contravention of the

Exchange Act. Absent disclosure of the foregoing material information prior to the expiration of

the tender offer, Plaintiff will be unable to make a fully-informed decision regarding whether to

tender her shares, and she is thus threatened with irreparable harm, warranting the injunctive

relief sought herein.

                                     CLAIMS FOR RELIEF

                                             COUNT I

                        On Behalf of Plaintiff Against All Defendants for
                         Violations of Section 14(e) of the Exchange Act

          37.   Plaintiff incorporates each and every allegation set forth above as if fully set forth

herein.

          38.   Section 14(e) of the Exchange Act provides that it is unlawful “for any person to

make any untrue statement of a material fact or omit to state any material fact necessary in order

to make the statements made, in the light of the circumstances under which they are made, not

misleading . . .” 15 U.S.C. § 78n(e).

          39.   Defendants violated Section 14(e) of the Exchange Act by issuing the Solicitation

Statement in which they made untrue statements of material facts or failed to state all material

facts necessary in order to make the statements made, in the light of the circumstances under

which they are made, not misleading, in conjunction with the tender offer. Defendants knew or

recklessly disregarded that the Solicitation Statement failed to disclose material facts necessary




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in order to make the statements made, in light of the circumstances under which they were made,

not misleading.

       40.     The Solicitation Statement was prepared, reviewed and/or disseminated by

Defendants. It misrepresented and/or omitted material facts, including material information about

the consideration offered to stockholders via the tender offer, the intrinsic value of the Company,

the Company’s financial projections, and the financial advisor’s valuation analyses and resultant

fairness opinion.

       41.     In so doing, Defendants made untrue statements of material fact and omitted

material information necessary to make the statements that were made not misleading in

violation of Section 14(e) of the Exchange Act. By virtue of their positions within the Company

and/or roles in the process and in the preparation of the Solicitation Statement, Defendants were

aware of this information and their obligation to disclose this information in the Solicitation

Statement.

       42.     The omissions and misleading statements in the Solicitation Statement are

material in that a reasonable stockholder would consider them important in deciding whether to

tender their shares or seek appraisal. In addition, a reasonable investor would view the

information identified above which has been omitted from the Solicitation Statement as altering

the “total mix” of information made available to stockholders.

       43.     Defendants knowingly, or with deliberate recklessness, omitted the material

information identified above from the Solicitation Statement, causing certain statements therein

to be materially incomplete and therefore misleading. Indeed, while Defendants undoubtedly had

access to and/or reviewed the omitted material information in connection with approving the




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tender offer, they allowed it to be omitted from the Solicitation Statement, rendering certain

portions of the Solicitation Statement materially incomplete and therefore misleading.

          44.   The misrepresentations and omissions in the Solicitation Statement are material to

Plaintiff, and Plaintiff will be deprived of her entitlement to make a fully informed decision if

such misrepresentations and omissions are not corrected prior to the expiration of the tender

offer.

                                              COUNT II

                      Violations of Section 14(d)(4) of the Exchange Act and
                              Rule 14d-9 Promulgated Thereunder
                                     (Against All Defendants)

          45.   Plaintiff repeats and re-alleges each allegation set forth above as if fully set forth

herein.

          46.   Defendants have caused the Solicitation Statement to be issued with the intention

of soliciting stockholder support of the tender offer.

          47.   Section 14(d)(4) of the Exchange Act and SEC Rule 14d-9 promulgated

thereunder require full and complete disclosure in connection with tender offers.

          48.   The Solicitation Statement violates Section 14(d)(4) and Rule 14d-9 because it

omits material facts, including those set forth above, which render the Solicitation Statement

false and/or misleading.

          49.   Defendants knowingly, or with deliberate recklessness, omitted the material

information identified above from the Solicitation Statement, causing certain statements therein

to be materially incomplete and therefore misleading. Indeed, while Defendants undoubtedly had

access to and/or reviewed the omitted material information in connection with approving the




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tender offer, they allowed it to be omitted from the Solicitation Statement, rendering certain

portions of the Solicitation Statement materially incomplete and therefore misleading.

          50.   The misrepresentations and omissions in the Solicitation Statement are material to

Plaintiff and Plaintiff will be deprived of her entitlement to make a fully informed decision if

such misrepresentations and omissions are not corrected prior to the expiration of the tender

offer.

                                            COUNT III

 On Behalf of Plaintiff Against the Individual Defendants for Violations of Section 20(a) of
                                      the Exchange Act

          51.   Plaintiff incorporates each and every allegation set forth above as if fully set forth

herein.

          52.   The Individual Defendants acted as controlling persons of Tableau within the

meaning of Section 20(a) of the Exchange Act as alleged herein. By virtue of their positions as

directors of Tableau, and participation in and/or awareness of the Company’s operations and/or

intimate knowledge of the incomplete and misleading statements contained in the Solicitation

Statement filed with the SEC, they had the power to influence and control and did influence and

control, directly or indirectly, the decision making of Tableau, including the content and

dissemination of the various statements that Plaintiff contends are materially incomplete and

misleading.

          53.   Each of the Individual Defendants was provided with or had unlimited access to

copies of the Solicitation Statement and other statements alleged by Plaintiff to be misleading

prior to and/or shortly after these statements were issued and had the ability to prevent the

issuance of the statements or cause the statements to be corrected.




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       54.     In particular, each of the Individual Defendants had direct and supervisory

involvement in the day-to-day operations of Tableau, and, therefore, is presumed to have had the

power to control or influence the particular transactions giving rise to the Exchange Act

violations alleged herein, and exercised the same. The omitted information identified above was

reviewed by the Board prior to voting on the Proposed Transaction. The Solicitation Statement

at issue contains the unanimous recommendation of the Board to approve the Proposed

Transaction.   The Individual Defendants were thus directly involved in the making of the

Solicitation Statement.

       55.     In addition, as the Solicitation Statement sets forth at length, and as described

herein, the Individual Defendants were involved in negotiating, reviewing, and approving the

Merger Agreement. The Solicitation Statement purports to describe the various issues and

information that the Individual Defendants reviewed and considered. The Individual Defendants

participated in drafting and/or gave their input on the content of those descriptions.

       56.     By virtue of the foregoing, the Individual Defendants have violated Section 20(a)

of the Exchange Act.

       57.     As set forth above, the Individual Defendants had the ability to exercise control

over and did control a person or persons who have each violated Section 14(d) and (e), by their

acts and omissions as alleged herein. By virtue of their positions as controlling persons, these

defendants are liable pursuant to Section 20(a) of the Exchange Act. As a direct and proximate

result of Individual Defendants’ conduct, Plaintiff will be irreparably harmed.

       58.     Plaintiff has no adequate remedy at law. Only through the exercise of this Court’s

equitable powers can Plaintiff be fully protected from the immediate and irreparable injury that

Defendants’ actions threaten to inflict.




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                                       RELIEF REQUESTED

          WHEREFORE, Plaintiff demands injunctive relief in her favor and against the

Defendants jointly and severally, as follows:

          A.     Preliminarily and permanently enjoining Defendants and their counsel, agents,

employees and all persons acting under, in concert with, or for them, from proceeding with,

consummating, or closing the Proposed Transaction, unless and until Defendants disclose the

material information identified above which has been omitted from the Solicitation Statement;

          B.     Rescinding, to the extent already implemented, the Merger Agreement or any of

the terms thereof, or granting Plaintiff rescissory damages;

          C.     Directing the Defendants to account to Plaintiff for all damages suffered as a

result of their wrongdoing;

          D.     Awarding Plaintiff the costs and disbursements of this action, including

reasonable attorneys’ and expert fees and expenses; and

          E.     Granting such other and further equitable relief as this Court may deem just and

proper.

                                           JURY DEMAND

          Plaintiff demands a trial by jury.

Dated: July 10, 2019                                RIGRODSKY & LONG, P.A.

                                               By: /s/ Gina M. Serra
OF COUNSEL:                                        Brian D. Long (#4347)
                                                   Gina M. Serra (#5387)
WOLF HALDENSTEIN ADLER                             300 Delaware Avenue, Suite 1220
FREEMAN & HERZ LLP                                 Wilmington, DE 19801
Gloria Kui Melwani                                 Telephone: (302) 295-5310
270 Madison Avenue                                 Facsimile: (302) 654-7530
New York, NY 10016                                 Email: bdl@rl-legal.com
Telephone: (212) 545-4600                          Email: gms@rl-legal.com
Facsimile: (212) 686-0114
Email: melwani@whafh.com                            Attorneys for Plaintiff


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